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            In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                  Filed: September 3, 2020

* * * * * * * * * * * * * *                  *
THERESA MARICH,                              *       UNPUBLISHED
                                             *
               Petitioner,                   *       No. 19-119V
                                             *
v.                                           *       Special Master Dorsey
                                             *
SECRETARY OF HEALTH                          *       Ruling on Entitlement; Concession;
AND HUMAN SERVICES,                          *       Influenza (“Flu”) Vaccine; Guillain-Barré
                                             *       Syndrome (“GBS”).
          Respondent.                        *
                *
* * * * * * * * * * * * * *                 *

Anne Carrion Toale, Maglio Christopher and Toale, Sarasota, FL, for petitioner.
Adriana Ruth Teitel, United States Department of Justice, Washington, DC, for respondent.

                               RULING ON ENTITLEMENT1

       On January 23, 2019, Theresa Marich (“petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program (“the Program”)2 alleging that she
developed Guillain-Barré syndrome (“GBS”) after receipt of an influenza (“flu”) vaccination on
October 19, 2017 and/or a tetanus-diphtheria-acellular pertussis (“Tdap”) vaccination on October
27, 2017. Petition at 1.

       On September 3, 2020, respondent filed an amended report pursuant to Vaccine Rule 4(c)
in which he concedes that petitioner is entitled to compensation in this case. Amended

1
  Because this Ruling contains a reasoned explanation for the action in this case, the undersigned
is required to post it on the United States Court of Federal Claims’ website in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services). This means the Ruling will be available to
anyone with access to the Internet. In accordance with Vaccine Rule 18(b), petitioner has 14
days to identify and move to redact medical or other information, the disclosure of which would
constitute an unwarranted invasion of privacy. If, upon review, the undersigned agrees that the
identified material fits within this definition, the undersigned will redact such material from
public access.
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-10 to -34 (2012). All citations in this Ruling to individual sections of the
Vaccine Act are to 42 U.S.C. § 300aa.
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Respondent’s Report (“Am. Resp. Rept.”) at 2. Based on a review of the medical records
respondent states that “petitioner has satisfied the criteria set forth in the revised Vaccine Injury
Table and the Qualifications and Aids to Interpretation” and “has experienced the residual effects
of her GBS for more than six months.” Id. at 9. Therefore, petitioner has satisfied all legal
prerequisites for compensation under the Act. Id.

        A special master may determine whether a petitioner is entitled to compensation based
upon the record. A hearing is not required. § 300aa-13; Vaccine Rule 8(d). In light of
respondent’s concession and a review of the record, the undersigned finds that petitioner is
entitled to compensation. This matter shall now proceed to the damages phase.

       IT IS SO ORDERED.

                                              s/Nora Beth Dorsey
                                                Nora Beth Dorsey
                                                Special Master




                                                 2
